                 EXHIBIT I




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            An o icial website of the United States government
            Here's how you know
                 United States Department of Agriculture
                 Agricultural Marketing Service




       Federal Milk Marketing Orders

   HOME › RULES & REGULATIONS › MARKETING ORDERS & AGREEMENTS › FEDERAL MILK MARKETING ORDERS




   Federal Milk Marketing Orders (FMMOs) establish certain provisions under which dairy processors
   purchase fresh milk from dairy farmers supplying a marketing area. In Federal order provisions,
   dairy processors are referred to as handlers and dairy farmers are known as producers. A marketing
   area is generally defined as a geographic area where handlers compete for packaged fluid milk sales,
   although other factors may be taken into account when determining the boundaries of a marketing
   area. Federal orders serve to maintain stable marketing relationships for all handlers and producers
   supplying marketing areas, thus facilitating the complex process of marketing fresh milk.

   The Agricultural Marketing Agreement Act authorizes FMMOs and USDA amends and establishes
   them through a hearing process overseen by the Secretary of Agriculture. The hearing process
   enables the dairy industry to submit proposals and evidence to support the establishment of and
   amendments to Federal order provisions. This process allows the Federal order provisions to meet
   the changing needs of the dairy industry. The establishment and amendments to a Federal order
   become e ective only a er approval by producers via a referendum process.



   Industry Hearing Request
   Emergency Hearing Requests for all Federal Milk Marketing Orders

   Temporary Average Class I Price Mover due to COVID-19
https://www.ams.usda.gov/rules-regulations/moa/dairy                                                                     1/4
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            Proponent Cooperatives and Marketing Agencies in Common (pdf)

            Amended Attachment A (pdf)
            USDA Response (pdf)

   Temporary Class I Price Floor due to COVID-19

            Central Milk Producers Cooperative (pdf)

            Dairy Cooperative Marketing Association, Inc. (pdf)
            Great Lakes Milk Marketing Agency (pdf)

            Southwest Cooperative Marketing Agency (pdf)
            Upper Midwest Marketing Agency (pdf



   2018 Farm Bill Provisions
            Class I Price Formula Change and Correction

   The new price formulas will be reflected in the May Advanced Class I Skim Milk Price that will be
   announced on April 17, 2019.

            Extension of Dairy Forward Pricing Program



   Program Operations
   Each milk marketing order includes:

            Classified price plan

            System of minimum prices

            Terms of the order

            Provisions for administering the order



   Information Requests
            Industry Requests

https://www.ams.usda.gov/rules-regulations/moa/dairy                                                                    2/4
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   Hearing Information
            National Hearings
            Regional Hearings
            Petitions



   Contact Information

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   Additional Resources
            Brochure: An Overview of the Federal Milk Marketing Order Program (pdf)
            Brochure: Federal Milk Marketing Order Program: Understanding the Milk Order Amendment
            Process (pdf)
            Map of Federal Milk Marketing Order Areas (pdf)
            List of Federal Milk Marketing Order Areas (doc)
            Price Formulas
            Agricultural Marketing Agreement Act
            Administrative Procedures Act




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